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10 Attorneys for Defendant ELIZABETH A. HOLMES

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12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
17                                          )
            Plaintiff,                      )   MS. HOLMES’ MOTION TO EXCLUDE
18                                          )   THERANOS’ CUSTOMER-SERVICE
       v.
                                            )   SPREADSHEETS UNDER FEDERAL RULES
19                                          )   OF EVIDENCE 401-404 AND 801-803
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                )
                                            )   Date: January 22, 2021
21          Defendants.                     )   Time: 10:00 AM
                                            )   CTRM: 4, 5th Floor
22                                          )
                                            )   Hon. Edward J. Davila
23
                                            )
24                                          )

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27 MS. HOLMES’ MOTION TO EXCLUDE THERANOS’ CUSTOMER-SERVICE SPREADSHEETS
   UNDER FEDERAL RULES OF EVIDENCE 401-404 AND 801-803
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 1         MOTION TO EXCLUDE THERANOS’ CUSTOMER-SERVICE SPREADSHEETS

 2         PLEASE TAKE NOTICE that on January 22, 2021, at 10:00 a.m., or on such other date and time
 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 5 respectfully move in limine to exclude evidence relating to Theranos’ customer-service spreadsheets.

 6 Ms. Holmes makes this motion pursuant to Federal Rules of Evidence 401-404 and 801-803. The

 7 Motion is based on the below Memorandum of Points and Authorities, the exhibits and declarations that

 8 accompany this motion, the record in this case, and any other matters that the Court deems appropriate.

 9

10 DATED: November 20, 2020

11

12                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
13                                                      LANCE WADE
                                                        AMY MASON SAHARIA
14                                                      KATHERINE TREFZ
15                                                      Attorneys for Elizabeth Holmes

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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          Defendant Elizabeth Holmes moves, pursuant to Federal Rules of Evidence 401-403, 404(b), and

 3 801-803, to preclude the government from introducing at trial Theranos’ customer-service spreadsheets.

 4 Like every customer-facing company, Theranos received customer feedback. The government has

 5 identified as exhibits Excel spreadsheets that purport to summarize that feedback. Although labeled

 6 “complaint logs” by the government, the spreadsheets appear to contain summaries of various customer-

 7 service communications. The government intends to offer these documents at trial to demonstrate that

 8 Ms. Holmes “knew that Theranos’s tests . . . suffered from accuracy problems that rendered them

 9 unreliable and not suitable for informing clinical treatment decisions.” Ex. 1 at 2 (Mar. 6, 2020 Gov’t

10 Rule 404(b) Notice); see Ex. 2 (Apr. 3, 2020 Supp. Gov’t Rule 404(b) Notice).

11          The documents should be excluded for three reasons. First, the spreadsheets are hearsay (and

12 their contents are double hearsay), not subject to any exception, and inadmissible for the truth of the

13 matter asserted. The government seeks to demonstrate that Theranos’ technology was flawed and its

14 tests inaccurate and unreliable based on the statements within the documents complaining of problems

15 and, further, that such purported flaws and inaccuracies were communicated to persons at the company.

16 The latter is hearsay and the former hearsay within hearsay. As a result, the spreadsheets are

17 inadmissible for the government’s stated purpose—to show that Ms. Holmes knew that the

18 communications reported in the spreadsheets revealed serious defects in Theranos technology. This

19 theory of relevance requires accepting that the complained-of events occurred as reported—i.e., that the

20 customer or doctor complaints reported events that actually occurred and revealed defects in Theranos’

21 blood tests. Because no hearsay exceptions apply, Theranos’ customer-service records are inadmissible.

22          Second, the spreadsheets are irrelevant under Rules 401 and 402. The spreadsheet entries do not

23 tend to show defects in Theranos’ technology, and the government has failed to connect the spreadsheets

24 to Ms. Holmes. Many entries are simply questions, not complaints or accusations. Moreover, to the

25 extent the spreadsheets identify potential errors, anecdotal evidence of potentially erroneous results is

26 irrelevant and unfairly prejudicial for the reasons set forth in a separate motion filed contemporaneously

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 1 herewith. See Ms. Holmes’ Mot. To Exclude Evidence of Anecdotal Test Results. All laboratory tests

 2 have inherent error rates, and the results covered by these spreadsheets reflect only a tiny fraction of the

 3 millions of results released by Theranos. Lastly, the government has identified no evidence showing

 4 that Ms. Holmes reviewed, was familiar with, or even had access to the spreadsheets. As a result, they

 5 say nothing about what she knew or did not know.

 6          Third, the risk of unfair prejudice and juror confusion far outweighs any probative value of the

 7 spreadsheets. See Fed. R. Evid. 403. The spreadsheets contain inflammatory, unproven accusations.

 8 And because the spreadsheets discuss hundreds of results (out of between 7 and 10 million blood results

 9 generated by Theranos tests), they are likely to lead jurors to misunderstand Theranos’ testing error rate.

10 Their admission also risks that jurors may jump to the conclusion that Ms. Holmes was familiar with the

11 spreadsheets’ contents, and might assume that the complaints themselves had been verified. All of this

12 would require counsel to contextualize and explain the contents of the spreadsheets, diverting precious

13 time away from the real issues in this case.

14          The Court should exclude this evidence under Rules 401-403, 404(b) and 801-803.

15                                                BACKGROUND

16          Theranos received feedback from many customers, both highly satisfied and dissatisfied ones.

17 The government has noticed its intent to introduce into evidence spreadsheets that purport to

18 memorialize certain customer-service communications and follow-up. Ex. 1 at 2; see Ex. 2.

19          Although the spreadsheets vary in formatting and length, they are generally organized in the

20 following way. The spreadsheets contain a number of categories, including the location of the lab, the

21 date, the “CSR” (presumably the customer service representative who interacted with the customer), the

22 patient and physician names, the accession number, the visit date, the reason for the call, the “issue,” the

23 name of the test, a call-back number, and “Resolution Notes.” Two spreadsheets contain a column

24 named “Max’s Notes”; the others do not. In the spreadsheets, many of the entries are populated with

25 information, but others are empty. For example, the “Resolution Notes” column is blank for a number

26 of the customer communications in multiple spreadsheets.

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 1          From the face of the spreadsheets, it is not clear when they were compiled or under what

 2 circumstances. For example, the spreadsheets do not say who entered the information received from the

 3 patient, doctor, or doctor’s agent; whether that same person actually spoke with the customer; when the

 4 underlying information was first memorialized; and when the spreadsheet was compiled. The entries

 5 often contain industry shorthand or jargon. The spreadsheets do not all follow the same formatting:

 6 some are color coded, while others are not. Across the spreadsheets identified by the government in

 7 Rule 404(b) correspondence, there are hundreds of entries.

 8          The spreadsheets purport to reflect a variety of customer feedback. They summarize patient

 9 inquiries about everything from not being able to use a Theranos coupon, to waiting in line at

10 Walgreens, to the way in which the phlebotomist administered the blood draw, to delays in receiving lab

11 results, to the results themselves. They also purport to reprise communications from doctors or their

12 assistants, who contacted Theranos with questions as they set about interpreting lab results, comparing

13 results from different lab tests, or assessing specific lab results. To state the obvious, the spreadsheets

14 say nothing about the tens of thousands of patients and doctors who never raised any questions about

15 their experience with Theranos.

16                                                 ARGUMENT

17 I.       The Contents of Theranos’ Customer-Service Spreadsheets Are Double Hearsay and
            Inadmissible to Show Ms. Holmes’ State of Mind.
18

19          The spreadsheets are hearsay, and their contents hearsay within hearsay, not subject to any

20 exception. See Fed. R. Evid. 801, 803. Because the customer-service spreadsheets are “relevant only if

21 true,” 2 McCormick on Evidence § 246 n. 6 (Robert P. Mosteller et al. eds., 8th ed. 2020 Update) (citing

22 United States v. Sesay, 313 F.3d 591, 599-600 (D.C. Cir. 2002)), this Court should exclude them from

23 evidence.

24          The contents of the spreadsheets, i.e., the purported summaries of customer communications, are

25 plainly hearsay within hearsay and inadmissible for the truth of the matter asserted. See Fed. R. Evid.

26 802, 805. Customer-service complaints do not reflect sufficient indicia of reliability to qualify for a

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 1 hearsay exception, as “the customer is under no duty to report accurately.” Shimozono v. May Dep’t

 2 Stores Co., 2002 WL 34373490, at *13 (C.D. Cal. Nov. 20, 2002). It is well established, for example,

 3 that customer complaints are not business records. As the Fourth Circuit explained, when “the supplier

 4 of the information does not act in the regular course, an essential link is broken; the assurance of

 5 accuracy does not extend to the information itself, and the fact that it may be recorded with scrupulous

 6 accuracy is of no avail.” Rowland v. Am. Gen. Fin., Inc., 340 F.3d 187, 194-95 (4th Cir. 2003) (quoting

 7 Fed. R. Evid. 803 advisory committee’s notes); see also Timberlake Constr. Co. v. U.S. Fid. & Guar.

 8 Co., 71 F.3d 335, 342-43 (10th Cir. 1995).

 9          The government nevertheless seeks to introduce the customer-service spreadsheets on the theory

10 that they tend to show Ms. Holmes knew about problems with Theranos’ testing. ECF No. 469, ¶ 16.

11 This is a hearsay purpose, however, because the government’s argument is predicated on the fact “that

12 the incidents complained of occurred as reported.” Boddicker v. Am. Honda Motor Co., 2011 WL

13 6132099, at *4 (N.D. Iowa Dec. 8, 2011).

14          The government’s theory requires three inferential steps: (1) the spreadsheets show that errors

15 occurred; (2) those errors manifested potential, underlying problems in Theranos’ technology; (3) Ms.

16 Holmes was familiar with the spreadsheets and therefore knew about problems with Theranos’

17 technology. But if the complained-of incidents occurred as reported or resulted from issues other than

18 problems with Theranos’ technology, then it does not logically follow that those events evidenced

19 potentially widespread deficiencies in Theranos testing. That is because the mere fact that a question or

20 complaint was raised says nothing about the accuracy or the reliability of the underlying technology.

21 The doctor or patient may have incomplete information; may have misunderstood the results; or may

22 simply have lodged an “accusatory and self-serving” complaint. Id.

23          The government’s chain of inferences all depends on the veracity of untested summaries of

24 statements made by patients and doctors. See 2 McCormick on Evidence, supra, § 246 n. 6. To allow

25 the admission of the spreadsheets on the government’s theory “would be to permit a loophole in the

26 hearsay rule large enough to swallow the rule itself.” Sesay, 313 F.3d at 600.

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 1          There is another reason to exclude the customer-service spreadsheets: the spreadsheets

 2 themselves are also inadmissible hearsay. See United States v. Orm Heing, 679 F.3d 1131, 1142 (9th

 3 Cir. 2012) (“[E]ach [layer of hearsay] must conform to an exception in order for the testimony to be

 4 admissible” for the truth of the matter asserted). The government has identified no information showing

 5 that these spreadsheets were generated in the regular course of Theranos’ business. See Fed. R. Evid.

 6 803(6). It is unclear who compiled the spreadsheets, when they were compiled, or for what purpose.

 7 The government has not explained, for instance, whether complaints were entered at the time they were

 8 received, and whether the Theranos representative who spoke with the patient, doctor, or staff personally

 9 placed the information in the spreadsheet. It is unclear whether Theranos contemporaneously compiled

10 customer complaints for some business purpose or whether, instead, this document was produced for the

11 purpose of litigation or this prosecution. See Paddack v. Dave Christensen, Inc., 745 F.2d 1254, 1258

12 (9th Cir. 1984) (audit reports were not business records because of the “irregular frequency and nature

13 with which [they] were conducted”). These same issues may well prevent the government from being

14 able to authenticate the spreadsheets at trial as well.

15          For these reasons, the government’s proffered evidence is inadmissible to show that Ms. Holmes

16 “knew that Theranos’s tests . . . suffered from accuracy problems that rendered them unreliable and not

17 suitable for informing clinical treatment decisions.” Ex. 1 at 2.

18 II.      The Customer-Service Spreadsheets Have No Probative Value.

19          A court must exclude evidence that is of no consequence to the charges in a case. Fed. R. Evid.

20 401, 402. Here, the government’s evidence is anecdotal and lacks any connection to Ms. Holmes. For

21 these reasons, the existence of spreadsheets summarizing customer communications is not probative of

22 the government’s allegation that Ms. Holmes was aware of systemic problems with Theranos’

23 technology or tests.

24          First, every customer-facing company receives customer complaints; lab tests have inherent

25 imprecision; and every lab makes errors.1 As a result, and in light of the unreliability of customer

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            1
          See, e.g., Julie A. Hammerling, A Review of Medical Errors in Laboratory Diagnostics and
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 1 complaints, supra p. 4, the fact that a complaint was lodged does not tend to show that an error occurred,

 2 much less that the technology that produced the result was flawed. And here the potential lab errors

 3 raised in the spreadsheets reflect only a tiny fraction of the millions of results produced by Theranos,

 4 and are therefore not a statistically representative sample of all Theranos testing. Thus, even if one

 5 could assume that every complaint in the spreadsheets was valid—an inference the Rules of Evidence

 6 forbid, supra p. 4—the sample size is too small to support a reasonable inference that they reflect

 7 systemic defects in Theranos technology or tests, or that the complaints would have put Ms. Holmes on

 8 notice of this fact.

 9          Second, the government has identified no evidence showing that Ms. Holmes reviewed, was

10 familiar with, or even had access to the spreadsheets. Ms. Holmes did not oversee customer service, and

11 the government has pointed to no evidence showing that she knew of the contents of the spreadsheets at

12 or near the time complaints were raised. Lacking any connection to Ms. Holmes, the customer-service

13 spreadsheets simply say nothing about what Ms. Holmes knew or did not know.

14          United States v. Bonds, 608 F.3d 495 (9th Cir. 2010), is instructive. There, the government

15 alleged that baseball player Barry Bonds had perjured himself when he testified before the grand jury

16 that he had not taken performance-enhancing drugs. In order to prove this charge, the government

17 sought to admit log sheets from a Bay-area laboratory in the name of “Barry Bonds” that reflected

18 positive urine tests for steroids. The district court excluded this evidence as irrelevant, and the Ninth

19 Circuit affirmed. The court of appeals explained that the government had failed to “link” the documents

20 to the defendant through testimony. Id. at 508. Because the government “could not in fact relate [the

21 logs] to Bonds,” the logs did not tend to prove that Bonds had actually tested positive, and, as a result,

22 were irrelevant to the ultimate question whether he had lied to the grand jury. Id.

23

24

25 Where We Are Today, 43 LabMedicine 41, 41 (2012) (citing study concluding that “the total [lab]
   testing process error rate ranges widely from 0.1% to 3.0%”). As applied to the 7 to 10 million tests
26 performed by Theranos, this would yield between 7,000 and 300,000 expected errors. See Ms. Holmes’
   Motion to Exclude Evidence of Anecdotal Test Results at 3-4 (discussing laboratory error).
27
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 1          Here, absent a connection between Ms. Holmes and the customer-service spreadsheets, they are

 2 irrelevant and must be excluded. If Ms. Holmes was not familiar with the contents of the spreadsheets,

 3 their existence does not alter the “probability of the truth of the consequential fact,” United States v.

 4 Brashier, 548 F.2d 1315, 1325 (9th Cir. 1976) (quoting 1 Jack B. Weinstein & Margaret A. Berger,

 5 Weinstein’s Evidence 401-27 (1975)), i.e., that she knew that Theranos’ technology “was not . . . capable

 6 of consistently producing accurate and reliable results.” ECF No. 469 ¶ 16.

 7 III.     The Customer-Service Spreadsheets Will Unfairly Prejudice Ms. Holmes and Confuse and
            Mislead the Jury.
 8

 9          A court must exclude evidence whose limited probative value “is substantially outweighed by a

10 danger of one or more of the following: unfair prejudice, confusing the issues, misleading the jury, . . .

11 [or] wasting time[.]” Fed. R. Evid. 403.

12          A.      The Customer-Service Spreadsheets Have Limited Probative Value.

13          If the customer-service spreadsheets have any probative value, it is “very slight.” United States

14 v. Hitt, 981 F.2d 422, 424 (9th Cir. 1992). For the following reasons, these documents bear a highly

15 attenuated connection to the government’s purported purpose for admitting them—to prove that Ms.

16 Holmes “knew” that “Theranos’s technology was, in fact, not capable of consistently producing accurate

17 and reliable results.” ECF No. 469 ¶16.

18          First, as discussed, that spreadsheets purporting to document customer complaints existed is (at

19 most) weakly probative of the government’s allegation that Ms. Holmes was aware of systemic

20 problems with Theranos technology. The fact of a complaint does not establish a defect in Theranos’

21 technology or tests: all lab tests have inherent imprecision and error rates; every lab commits some

22 number of errors; the results referenced in the spreadsheets amount to a tiny fraction of total Theranos

23 results; and the government has identified no evidence connecting Ms. Holmes to the spreadsheets.

24          Second, absent even basic information about these spreadsheets—who compiled them, when, and

25 for what purpose—their probative value is minimal at best.

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 1          B.     The Customer-Service Spreadsheets Are Unfairly Prejudicial, Confusing, and
                   Misleading.
 2

 3          In light of the (at most) minimal probative value of the government’s proffered evidence, it
 4 would constitute “an abuse of discretion to admit [the customer-service spreadsheets] if there’s even a

 5 modest likelihood of unfair prejudice or a small risk of misleading the jury.” Hitt, 981 F.2d at 424. That

 6 risk is undoubtedly present here. The spreadsheets are unfairly prejudicial to Ms. Holmes and would

 7 mislead the jury.

 8          First, if the spreadsheets were admitted, jurors would naturally assume that Ms. Holmes had
 9 been familiar with their contents at the time complaints were lodged with Theranos. This inference

10 would be unfairly prejudicial, as it would suggest that Ms. Holmes had intimate knowledge of the

11 contents of the spreadsheets, despite any evidence from the government to that effect.

12          Second, jurors would also misunderstand the error rate of Theranos testing if the spreadsheets
13 were admitted. The spreadsheets reflect a tiny fraction of the results generated by Theranos in total.

14 The jury would be left with a handful of spreadsheets totaling hundreds of complaints or questions, and

15 no sense of the larger evidentiary picture. Furthermore, the contents of the spreadsheets would risk

16 leading the jury to believe that every comment, question, or concern registered in the spreadsheets was

17 valid and substantiated. But the government has not pointed to any evidence that shows in a

18 comprehensive way whether or not customer complaints were valid, i.e., actually based on errors in

19 Theranos testing. This misimpression would invite the jury to convict Ms. Holmes on the basis of an

20 improper and speculative inference: that the fact of questions or complaints about Theranos lab results

21 establishes that there was something systematically wrong with the underlying tests. This would be

22 unfairly prejudicial to Ms. Holmes and misleading to the jury.

23          Third, the spreadsheets contain inflammatory accusations. For example, a Walgreens nurse
24 asserted that she did not “trust her results” and did not “want to send any patients to” Theranos because

25 she received different results for the same tests from Sonora Quest. Ex. 73 (SEC-USAO-EPROD-

26 002101857) (under seal). One patient described the phlebotomists as “incompetent.” Id. A doctor was

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 1 “very upset” after having waited for a week for results; another accused Theranos of a “HIPAA

 2 violation.” Id. Because such complaints are not “subject to cross-examination,” Boddicker, 2011 WL

 3 6132099, at *4, the jury would be left with a distorted view of the evidence.

 4          Fourth, the spreadsheets would be a source of confusion and speculation. They contain technical

 5 shorthand and unexplained color coding, neither of which would be self-explanatory to lay jurors.

 6 Members of the jury might draw unwarranted inferences from the contents of the spreadsheets,

 7 concluding, for example, that if a Theranos test produced a different result than one generated by a

 8 different lab, the Theranos technology was somehow deficient. To minimize the risk of unfair prejudice

 9 and juror confusion, Ms. Holmes would be compelled to contextualize the entries, requiring defense

10 counsel to define the meaning and significance of scientific jargon and shorthand, establish the statistical

11 relevance (or lack thereof) of the spreadsheets, confirm the way in which the spreadsheets were

12 compiled, maintained, and stored, and even go line-by-line explaining entries. The parties would spend

13 precious time parsing technical customer-service spreadsheets, as opposed to focusing the jury’s

14 valuable time on the core issues implicated by the indictment. In short, admitting this evidence would

15 “result[] in a ‘mini trial.’” Tennison v. Circus Circus Enters., 244 F.3d 684, 690 (9th Cir. 2001).

16          The government’s spreadsheets have scarce probative value, and present a serious risk of

17 unfairly prejudicing Ms. Holmes, confusing the issues, and misleading the jury. This Court should

18 therefore exclude the spreadsheets for this reason.2

19                                               CONCLUSION

20          For the foregoing reasons, Ms. Holmes respectfully requests an order precluding the government

21 from introducing at trial Theranos’ customer-service spreadsheets.

22

23

24          2
            The customer-service spreadsheets are also inadmissible under Fed. R. Evid. 404(b) because
25 the government has failed to establish a “logical chain of inference” between the existence of customer-
   service complaints concerning Theranos tests and the issues at trial, specifically Ms. Holmes’
26 knowledge about the accuracy and reliability of Theranos testing. United States v. Sampson, 980 F.2d
   883, 888 (3d Cir. 1992).
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 1 DATED: November 20, 2020                Respectfully submitted,

 2

 3                                         /s/ Amy Mason Saharia
                                           KEVIN DOWNEY
 4                                         LANCE WADE
                                           AMY MASON SAHARIA
 5                                         KATHERINE TREFZ
                                           Attorneys for Elizabeth Holmes
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 20, 2020 a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5                                                     /s/ Amy Mason Saharia
                                                       AMY MASON SAHARIA
 6                                                     Attorney for Elizabeth Holmes
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   MS. HOLMES’ MOTION TO EXCLUDE THERANOS’ CUSTOMER-SERVICE SPREADSHEETS
28 UNDER FEDERAL RULES OF EVIDENCE 401-404 AND 801-803
   CR-18-00258 EJD
